Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17        PageID.1973     Page 1 of 16



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

           ROBERT E. TITUS, JR.,

                  Plaintiff,
                                                      Case No. 16-cv-10951
                       v.
                                               UNITED STATES DISTRICT COURT JUDGE
                                                       GERSHWIN A. DRAIN
      OPERATING ENGINEERS’ LOCAL 324
              PENSION PLAN,
                                                UNITED STATES MAGISTRATE JUDGE
                                                       ANTHONY P. PATTI
                Defendant.
       __________________________/

 OPINION AND ORDER GRANTING DEFENDANT’S MOTION FOR JUDGMENT ON THE
 ADMINISTRATIVE RECORD [41] AND DENYING PLAINTIFF’S CROSS-MOTION FOR
             JUDGMENT ON THE ADMINISTRATIVE RECORD [42]

 I.     Introduction

        This is a case regarding the Employee Retirement Income Security Act of

 1974 (“ERISA”), 29 U.S.C. § 1001. See Dkt. No. 1. On March 16, 2016, Plaintiff

 Robert Titus, Jr. filed a Complaint against Defendant Operating Engineers’ Local

 324 Pension Plan (“the Pension Plan”) seeking remedies under ERISA. Id. In his

 Complaint, Titus asserted three claims, asking that the Court:         (i) enjoin the

 suspension of his retirement benefits and reform the Pension Plan under ERISA §§

 203(a)(3)(B) and 502(a)(3); (ii) order the Defendant to provide a full and fair review

 of his benefit claims under ERISA §§ 502(a)(3) and 503; and (iii) both grant


                                           1
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17        PageID.1974    Page 2 of 16



 retirement benefits he contends were improperly suspended and require that the Plan

 clarify his right to benefits, pursuant to ERISA § 502(a)(1)(B).

         The Court issued a Case Management Scheduling Order for Review of ERISA

 Administrative Denial of Benefits on August 31, 2016, and the Administrative

 Record was filed under seal pursuant to Local Rule 5.3(a) on September 30, 2016.

 See Dkt. Nos. 11, 12.

         The Defendant filed a Motion for Partial Judgment on the Pleadings on

 October 31, 2016. See Dkt. No. 19. In this motion, the Defendant sought judgment

 on Plaintiff’s claims I and II. Id. The Court granted Defendant’s motion and later

 denied Plaintiff’s Motion for Leave to Amend. See Dkt. Nos. 34, 40. Accordingly,

 only Plaintiff’s third claim remains for adjudication.

         Presently before the Court are the parties’ Cross-Motions for Judgment on the

 Administrative Record. See Dkt. Nos. 41, 42. For the reasons that follow, the Court

 will GRANT Defendant’s Motion for Judgment on the Administrative Record [41]

 and DENY Plaintiff’s Cross-Motion for Judgment on the Administrative Record

 [42].

 II.     Background

         A.    Retirement Considerations

         Titus joined the Operating Engineers Local 324 in August 1978, and his

 employment primarily consisted of operating and maintaining cranes. Dkt. No. 1,

                                           2
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17         PageID.1975    Page 3 of 16



 p. 3 (Pg. ID 3); Dkt. No. 45, p. 5 (Pg. ID 1804). Through his employment, he became

 a member of the Pension Plan, a multi-employer defined benefit plan. Dkt. No. 1,

 pp. 1–3 (Pg. ID 1–3). The Pension Plan provides a Service Pension for active

 participants who have both reached the age of fifty-five and have at least thirty years

 of credited service. Id. at 3 (Pg. ID 3).

       In February 2014, Titus became eligible to receive benefits under the Pension

 Plan. Id. at p. 4 (Pg. ID 4). At this time, he contemplated first retiring and then

 starting his own sales and consulting company. Id. Titus understood that the Plan

 imposed restrictions on beneficiaries’ post-retirement employment, and thus, he

 sought to start a company as long as it did not impact his retirement income. Id.

       ERISA offers guidance related to restrictions on post-retirement employment,

 where a retiree is receiving a pension. It provides that:

       [a] right to an accrued benefit derived from employer contributions
       shall not be treated as forfeitable solely because the plan provides that
       the payment of benefits is suspended for such period as the employee
       is employed, subsequent to the commencement of payment of such
       benefits--
              ...
              (ii) in the case of a multiemployer plan, in the same
              industry, in the same trade or craft, and the same
              geographic area covered by the plan, as when such
              benefits commenced.

 29 U.S.C. § 1053(a)(3)(B). In addition, ERISA contains a provision related to a

 status determination and the suspension of benefits.



                                             3
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17        PageID.1976    Page 4 of 16



       Status determination. If a plan provides for benefits suspension, the
       plan shall adopt a procedure, and so inform employees, whereunder an
       employee may request, and the plan administrator in a reasonable
       amount of time will render, a determination of whether specific
       contemplated employment will be section 203(a)(3)(B) service for
       purposes of plan provisions concerning suspension of benefits.
       Requests for status determinations may be considered in accordance
       with the claims procedure adopted by the plan pursuant to section 503
       of the Act and applicable regulations.

 29 C.F.R. § 2530.203–3(b)(6).

       When he became eligible to receive a pension in February 2014, Titus

 requested a status determination regarding the work contemplated and spoke with

 the Pension Plan Manager, Duane Menter. Dkt. No. 1, p. 6 (Pg. ID 6). Menter

 summarized this conversation in a letter dated March 28, 2014. Dkt. No. 12, p. 19

 (Pg. ID 93). Mentor confirmed that he advised Titus as follows:

       as long as [Titus] was not personally working for an employer obligated
       to contribute to the Local 324 Pension and that the work he would be
       performing would not be that which would be covered under a
       Collective Bargaining Agreement (Bargaining Unit Work) that he
       would not be in violation of the Pension Fund’s rules regarding retirees
       who return to work.

       However if he were to be found doing the work of a bargaining unit
       employee or was being compensated directly by a contributing
       employer, his monthly Pension Benefit would be suspended under the
       rules of the Plan.

 Id. Menter’s letter implicitly refers to Section 3.6 of the Pension Plan, which

 concerns the suspension of benefits. That section allows a retiree receiving benefits

 to work less than 40 hours in any calendar month in the same industry and same

                                          4
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17          PageID.1977     Page 5 of 16



 trade or craft as the retiree had worked prior to retirement. Id. at p. 3 (Pg. ID 77). It

 mandates the suspension of a retiree’s benefits, however, if it is found that the retiree

 has performed such work for at least 40 hours in a calendar month. Id.

       Based on Menter’s February 2014 advice, Plaintiff retired and started a sales

 and consulting construction company, BJ’s Consulting Company. Dkt. No. 41-1, p.

 14 (Pg. ID 1573). Specifically, Titus submitted an application for retirement benefits

 on February 24, 2014 and began receiving benefits on March 1, 2014. Dkt. No. 1,

 p. 7 (Pg. ID 7); see also Dkt. No. 41-1, p. 9 (Pg. ID 1568).

       B.     Suspension of Benefits

       Approximately one year later, in February 2015, Titus was notified that his

 benefits were being suspended as of March 1, 2015. Dkt. No. 1, p. 8 (Pg. ID 8). The

 reason was that he had allegedly violated the restrictions on returning to work. Id.;

 see also Dkt. No. 12, p. 37 (Pg. ID 111). His suspension notice reflected that he was

 exceeding the 40 hour restriction on work in the same industry, and trade or craft as

 that in which he had worked pre-retirement. Dkt. No. 1, p. 8 (Pg. ID 8); see also

 Dkt. No. 12, p. 37 (Pg. ID 111).

       The suspension was the result of an investigation in which a person observed

 Titus working at Connelly Crane, a company he had worked for from 1999 until his

 retirement. Dkt. No. 12, p. 46 (Pg. ID 120); Dkt. No. 41-1, p. 14 (Pg. ID 1573). The

 investigator trailed Titus for several months and determined that “[Titus] is working

                                            5
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17         PageID.1978    Page 6 of 16



 full time, doing the same job he did prior to retirement, well in excess of 40 hours

 per month.” Dkt. No. 12, p. 46 (Pg. ID 120). In particular, the investigator

 “observe[d] Titus operating and fueling cranes on various jobsites and working from

 Connelly Crane.” Id.; Dkt. No. 41-1, p. 14 (Pg. ID 1573).

       Titus appealed the suspension in February 2015, and the Plan’s Board of

 Trustees heard and denied his appeal the following month. Dkt. No. 12, p. 197–202

 (Pg. ID 271–76). The Trustees denied his appeal on the grounds that he was working

 in the same industry, and trade or craft as he had pre-retirement, and had not notified

 the Trustees of this employment. Id. at p. 201 (Pg. ID 275).

       In July 2015, Plaintiff again appealed the suspension of his benefits. Id. at p.

 9 (Pg. ID 83). The Trustees denied his appeal in September 2015, finding “that [his]

 proposed employment is substantially similar to the work [he] performed prior to

 retirement and could even fill a position covered by the collective bargaining

 agreement.” Id. at p. 5 (Pg. ID 79). In their written explanation, the Trustees noted

 that Menter’s letter was part of their decision-making process, but they did not

 address it. Id. Instead, they emphasized that Titus’s post-retirement work was

 “reasonably related to the underlying skills associated with the trade or craft for

 which [Titus] was trained or in which he acquired his work experience.” Id. at 6

 (Pg. ID 80). The Trustees also evaluated letters from construction companies which

 Titus had submitted in support of his appeal. Id. The Trustees concluded that the

                                           6
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17           PageID.1979     Page 7 of 16



 letters suggested Titus had violated the Plan’s suspension policy, as the companies

 said Titus had supported their operations for “many years” and “ha[d] worked in the

 area helping business [sic] with cranes and lifting needs.” Id. at 5 (Pg. ID 79).

 III.   Legal Standard

        ERISA allows a plan participant “to recover benefits due to him under the

 terms of his plan, to enforce his rights under the terms of the plan, or to clarify his

 rights to future benefits under the terms of the plan.” 29 U.S.C. § 1132(a)(1)(B).

        A district court must review a denial of benefits under an ERISA plan through

 “a de novo standard unless the benefit plan gives the administrator or fiduciary

 discretionary authority to determine eligibility for benefits or to construe the terms

 of the plan.” Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 103, 115, 109

 S.Ct. 948, 103 L. Ed. 2d 80 (1989). Yet where an administrator or fiduciary has

 been granted “a clear grant of discretion,” as the parties agree is the situation here, a

 court reviews the denial of benefits under the “highly deferential arbitrary and

 capricious standard.” Miller v. Metro. Life Ins. Co., 925 F.2d 979, 983 (6th Cir.

 1991); see Dkt. No. 12, p. 5 (Pg. ID 79).

        Under this standard, a court must “defer to the underlying decision so long as

 it is rational in light of the plan’s provisions.” Frazier v. Life Ins. Co. of N. Am., 725

 F.3d 560, 567 (6th Cir. 2013) (citations omitted).          A court “will uphold the

 administrator’s decision ‘if it is the result of a deliberate, principled reasoning

                                             7
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17        PageID.1980    Page 8 of 16



 process and if it is supported by substantial evidence.’ ” Glenn v. MetLife, 461 F.3d

 660, 665 (6th Cir. 2006) (quoting Baker v. United Mine Workers of Am. Health &

 Ret. Funds, 929 F.2d 1140, 1144 (6th Cir. 1991)). “[T]he arbitrary or capricious

 standard is the least demanding form of judicial review of administrative action and

 when it is possible to offer a reasoned explanation, based on the evidence, for a

 particular outcome, that outcome is not arbitrary or capricious.” Davis v. Ky. Fin.

 Cos. Ret. Plan, 887 F.2d 689, 693 (6th Cir. 1989).

       This standard allows a court to overturn an administrator’s decision “only by

 finding that they abused their discretion—which is to say, that they were not just

 clearly incorrect but downright unreasonable.” Fuller v. CBT Corp., 905 F.2d 1055,

 1058 (7th Cir. 1990); see also Univ. Hosp. of Cleveland v. Emerson Elec. Co., 202

 F.3d 839, 846 (6th Cir. 2000). “It is only if the court is confident that the

 decisionmaker overlooked something important or seriously erred in appreciating

 the significance of the evidence that it may conclude that a decision was arbitrary

 and capricious.” Erickson v. Metro. Life Ins. Co., 39 F. Supp. 2d 864, 870 (E.D.

 Mich. 1999).

 IV.   Discussion

       Plaintiff’s claim arises under ERISA § 502(a)(1)(B), 29 U.S.C. §

 1132(a)(1)(B). Under this section, Plaintiff seeks “to recover benefits due to him

 under the terms of his plan, to enforce his rights under the terms of the plan, or to

                                          8
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17          PageID.1981     Page 9 of 16



 clarify his rights to future benefits under the terms of the plan.” Id. Plaintiff alleges

 the Trustees arbitrarily suspended his benefits based on his post-retirement work, or

 arbitrarily failed to otherwise clarify his right to retirement benefits. Dkt. No. 1, p.

 2 (Pg. ID 2).

       Plaintiff also argues that a Department of Labor regulation requires the Plan

 to have a status determination procedure, and the Plan failed to satisfy this

 requirement. See 29 C.F.R. § 2530.203–3(b)(6).

       For the reasons discussed herein, the Defendant is entitled to judgment on the

 Administrative Record, and thus, the Plaintiff is not entitled to judgment on the

 Administrative Record.

       A.        Plan Restriction of Benefits

       As an initial matter, when the Court granted Defendant’s Motion for a Partial

 Judgment on the Pleadings, it held that the Plaintiff’s claim of equitable estoppel

 failed as a matter of law. See Dkt. No. 34, p. 16 (Pg. ID 1157). Therefore, as Plaintiff

 concedes, he cannot argue here that representations by the Plan Manager, Duane

 Menter, equitably estop the Pension Plan from suspending his benefits.

       Turning to his arguments, Titus concedes that on its face, the Plan suspends

 benefits for any work in the construction industry related to his pre-retirement duties.

 Dkt. No. 42, p. 8–9 (Pg. ID 1610–11). He asserts that the Plan’s unambiguous

 language, however, “conflicted with his understanding that retirees had been allowed

                                                9
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17          PageID.1982     Page 10 of 16



 to perform non-bargaining unit work without suffering a suspension of benefits.” Id.

 at p. 9 (Pg. ID 1611). His understanding is primarily based on a February 2014

 conversation with Menter, and Menter’s letter confirming their conversation. Id. at

 p. 16 (Pg. ID 1618). According to Titus, the Trustees’ decision to suspend his

 benefits was arbitrary and capricious because the Trustees did not explain why

 Menter’s interpretation lacked merit, they did not question Menter about his

 understanding of the Plan, or both. Id. at p. 13 (Pg. ID 1615).

        The Pension Plan argues, and the Court agrees, that the Trustees considered

 Menter’s letter and, based on substantial evidence, concluded that the Plan

 authorized the suspension of Plaintiff’s benefits.

        The parties agree that Article III, Section 3.6 of the Plan governs Titus’s claim.

 This section mandates the suspension of a retiree’s benefits, where the retiree

 satisfies all of the following criteria:

        (1) He becomes actively employed or self-employed for at least forty
        (40) hours in any calendar month . . . ;
        (2) Such employment is in the same industry as the type of business
        activity engaged in by any Employer who was an Employer at the time
        the Retired Employee Participant first received monthly benefits (or
        would have received monthly benefits had he not remained in or
        returned to an employed status); and
        (3) Such employment is in the same trade or craft in which the Retired
        Employee Participant was employed at any time while participating in
        the Plan, including any supervisory or managerial activity which is
        reasonably related to the underlying skills associated with the trade or
        craft for which the Retired Employee Participant was trained or in
        which he acquired his work experience[.]

                                            10
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17         PageID.1983     Page 11 of 16



 Dkt. No. 12, p. 3 (Pg. ID 77).

       Applying this section, the Trustees twice denied Titus’s request for a waiver,

 once on March 6, 2015 and again on September 10, 2015. Id. at pp. 3–6, 27–31 (Pg.

 ID 77–80, 101–05). On both occasions, they reasoned that based on their “review[]

 at length” of the relevant materials, including Menter’s March 2014 letter, Section

 3.6 required the suspension of Titus’s benefits. See, e.g., id. at p. 5 (Pg. ID 79).

 Specifically, the Trustees concluded that Titus, both pre- and post-retirement, was

 employed in the same industry and the same trade or craft, and that his supervisory

 duties post-retirement were reasonably related to the skills he cultivated pre-

 retirement. Id. at pp. 5, 27 (Pg. ID 79, 101).

       Additionally, Titus submitted several letters from construction companies in

 support of his appeal. Id. at p. 5 (Pg. ID 79). The Trustees observed that these letters

 indicated “that [his] proposed employment is substantially similar to the work [he]

 performed prior to retirement and could even fill a position covered by the collective

 bargaining agreement.” Id. The Trustees cited excerpts from those letters in which

 the companies said Titus had supported their construction operations for “many

 years.” Id. The Trustees did not, however, offer analysis of Menter’s letter to Titus.

 Id.

       Titus ignores this evidence and instead asserts that Menter’s letter suggests he

 was restricted to less than 40 hours a month for bargaining unit work, but was not

                                           11
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17       PageID.1984    Page 12 of 16



 restricted as to time spent performing non-bargaining unit work. Dkt. No. 42, p. 9

 (Pg. ID 1611). This assertion misses the point.

        The Trustees determined that Titus’s alleged non-bargaining unit work was

 actually bargaining unit work. Dkt. No. 12, at p. 5 (Pg. ID 79). Indeed, they

 observed that he could have filled a position in the collective bargaining agreement.

 Id.   In their March 2015 denial of Titus’s appeal, the Trustees relied on an

 investigator’s observations of Titus’s work. Id. at p. 201 (Pg. ID 275). This

 investigator trailed Titus for several months and concluded that “[Titus] is working

 full time, doing the same job he did prior to retirement, well in excess of 40 hours

 per month.” Id. at p. 46 (Pg. ID 120). Specifically, the investigator “observe[d]

 Titus operating and fueling cranes on various jobsites and working from Connelly

 Crane,” a company Titus worked for from 1999 until his retirement in 2014. Id.; see

 also Dkt. No. 41-1, p. 14 (Pg. ID 1573).

        Moreover, to the extent Titus contends the Trustees failed to ask Menter

 questions about the letter, this argument is unpersuasive. The record does not

 contain a transcript or any other evidence as to what was said in the Trustees

 meetings regarding Titus’s appeal. Yet the record does reflect that Menter attended

 the Board of Trustees meetings during which they decided Titus’s appeal, and

 Menter presented the appeal for consideration. See Dkt. No. 12, p. 203 (Pg. ID 277).

 These facts then undercut Titus’s bare assertions.

                                            12
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17         PageID.1985     Page 13 of 16



       Despite this evidence, Titus argues that the Trustees arbitrarily failed to

 consider Menter’s understanding of the plan and in support cites Glenn v. MetLife,

 461 F.3d 660, 672 (6th Cir. 2006). This case is distinguishable.

       In Glenn, the defendant assisted a claimant in securing disability benefits from

 the Social Security Administration, and recouped disability payments from the

 plaintiff given the Administration’s finding. Id. at 666–67. Less than two years

 later, however, the defendant denied the claimant benefits and did so without

 addressing the Social Security Administration’s finding of disability.               Id.

 Significantly, the defendant was charged with both deciding the claimant’s

 eligibility for benefits and paying those benefits. Id. In concluding that the

 defendant’s decision was not arbitrary, the district court failed to consider these dual

 responsibilities and the resulting apparent conflict of interest. Id. at 667. For these

 reasons, the Sixth Circuit held that the defendant arbitrarily denied the claimant

 benefits. Id. at 669.

       Here, the Trustees have not taken inconsistent positions about whether Titus

 was entitled to benefits while he was working for BJ’s Crane Consulting. Indeed,

 they have consistently concluded that his benefits were to be suspended because of

 this work. Moreover, the conflict of interest, which the Sixth Circuit weighted

 heavily in Glenn, is absent here. The Trustees do not both decide and pay claimants’

 benefits, the Trustees as individuals do not have a financial stake in the outcome of

                                           13
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17        PageID.1986    Page 14 of 16



 claims for benefits, and no evidence in the record suggests that financial

 considerations impacted the Trustees’ decision. See, e.g., Foltz v. Barnhart Crane

 & Rigging, Inc., 636 F. App’x 677, 681 (6th Cir. 2016) (concluding there was no

 conflict of interest where a Fund was a multi-benefit employer plan without a profit

 motive, its Trustees received no financial benefit from approving or denying a claim,

 and in any event, there was no evidence that financial considerations factored into

 the Trustees’ decision to deny benefits); see also Lee v. Sheet Metal Workers’ Nat.

 Pension Fund, 760 F. Supp. 2d 711, 718–19 (E.D. Mich. 2010) (observing that “the

 Trustees of the defendant Fund determine eligibility for pension benefits and the

 benefits are paid from a fund to which contributing employers pay,” but this “alleged

 structural conflict does not deserve much weight.”)

       Accordingly, the Trustees’ decision to suspend Titus’s benefits was not

 arbitrary and capricious, and was based on substantial evidence.

       B.     Status Determination Procedure

       Titus presents three arguments regarding a status determination. First, Titus

 argues that Department of Labor Regulation 29 C.F.R. § 2530.203–3(b)(6) requires

 a status determination procedure, and the Summary Plan Description (“SPD”) does

 not include a procedure for obtaining a waiver. Dkt. No. 42, p. 9 (Pg. ID 1611).

 Second, he contends that if the SPD has a status determination process, this process

 solely entails contacting the Plan Office with any questions about the Plan. Id. at p.

                                          14
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17       PageID.1987    Page 15 of 16



 24 (Pg. ID 1626). Third, he asserts that he complied with this procedure. Id. These

 arguments are unavailing.

       As to Titus’s first and second arguments, the Defendant correctly notes that

 both the June 2001 and May 2013 SPD documents contain a procedure for a status

 determination. See Dkt. No. 12, pp. 172–173, 306–07 (Pg. ID 246–47, 380–81).

 Both documents provide that “[i]t is important that [participants] notify the Fund

 Office in writing as soon as [they] become employed after [they] begin to receive

 benefits under the Plan.” See id. at pp. 172, 306 (Pg. ID 246, 380). Likewise, the

 Plan details the procedure for requesting a status determination. Id. at p. 5 (Pg. ID

 79). There, a retiree looking to return to work must “notify the Trustees in advance,

 on a form prescribed and furnished by them, of his intent to commence such work

 and the Trustees must approve such work, in their sole discretion, before its

 commencement.” Id. This procedure establishes that where retirees do not obtain a

 waiver, their benefits will be suspended for the entire time that they worked without

 a waiver. Id.

       Third, the Court agrees with the Defendant that Titus did not comply with this

 procedure. Titus submitted a written request for a waiver in March 2015, long after

 he had begun working in violation of the Plan requirements. Dkt. No. 41-1, p. 10–

 11 (Pg. ID 1569–70).




                                          15
Case 2:16-cv-10951-GAD-APP ECF No. 46 filed 11/08/17        PageID.1988     Page 16 of 16



       Finally, even if Titus is correct that he followed the appropriate procedures, he

 still cannot succeed on his claims. Because the Trustees did not arbitrarily conclude

 that he violated the Plan by performing bargaining unit work at least 40 hours a

 month, his claims fail.

       Consequently, Titus’s arguments regarding the Pension Plan’s status

 determination procedure lack merit.

 V.    Conclusion

       For the reasons stated herein, the Court will GRANT Defendant’s Motion for

 Judgment on the Administrative Record [41], and DENY Plaintiff’s Cross-Motion

 for Judgment on the Administrative Record [42].


 Dated: November 8, 2017                        s/Gershwin A. Drain
                                                GERSHWIN A. DRAIN
                                                United States District Judge



                           CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon
 counsel of record and any unrepresented parties via the Court's ECF System to their
 respective email or First Class U.S. mail addresses disclosed on the Notice of
 Electronic Filing on November 8, 2017

                                                s/Tanya R. Bankston
                                                TANYA R.BANKSTON
                                                Case Manager & Deputy Clerk




                                           16
